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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE
 ________________________________________

  ANDREW R. PERRONG
  1657 THE FAIRWAY #131
  JENKINTOWN, PA 19046

                  Plaintiff
                                                         Case No. 1:22-cv-04479-CPO-EAP
  vs.

  CALLER IDENTIFED AS CONNOR                              JURY TRIAL DEMANDED

          Defendant.



                      MOTION FOR LEAVE TO SERVE A THIRD-PARTY
                      SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE


         Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff hereby moves this honorable Court to enter

 an order granting Plaintiff leave to serve a third-party subpoena under Rule 45 on RingCentral

 Inc. and any subsequent downstream providers as RingCentral may identify, prior to a Rule 26(f)

 conference, seeking the subscriber identity, to include the name of the subscriber, address,

 contact telephone number, website, and e-mail address for the telephone number 856-209-6591.

 In support thereof, Plaintiff states the following:


    I.      INTRODUCTION

         As set forth in Plaintiff’s complaint, Plaintiff received calls which he alleges violated the

 Telephone Consumer Protection Act (“TCPA”) from an entity calling to solicit for renting and

 selling property. Compl. ¶¶15, 20. The call came from the apparently legitimate caller ID 856-

 209-6591. Id. ¶28.



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           However, the Plaintiff does not know the legal entity who placed the calls. When the

 number is called back, the caller is simply transferred to voicemail identifying “Connor” and the

 Plaintiff is unable to investigate further. See Compl. ¶32. The Plaintiff is also ignorant of any

 address to serve the Defendant because Defendant used messages with the generic name

 “Connor” and did not state the marketing company, lead generator, or other corporate entity from

 whom they were calling.

           Plaintiff has queried the database of iconectiv, the company charged by the Federal

 Communications Commission to administer the Number Portability Administration Center,

 which is the master database which lists which telephone provider services a particular number,

 among other information required to route telephone calls to the proper provider. Searching the

 telephone number 856-209-6591 in this database reveals that the number is serviced by

 RingCentral Inc. This database does not reveal subscriber identity, however, as that information

 remains with the carrier, in this case, RingCentral Inc.

           In short, seeking the subscriber information for the telephone number 856-209-6591 from

 the carrier, RingCentral Inc., and any downstream carriers it may use, is the only way in which

 Plaintiff will be able to ascertain the true identity of the caller and effectuate service of process.

 Plaintiff will only use this information to prosecute the claims made in its Complaint and any

 amended pleadings in this matter. Without this information, Plaintiff cannot pursue this lawsuit

 to hold the caller that called him accountable for its actions in violating the TCPA.

     II.      LEGAL ARGUMENT

              a. Legal Standard Governing Discovery Requests to Identify an Anonymous
                 Defendant

           Cases such as this are the paradigm for when courts should grant leave to conduct pre-

 Rule 26(f) conference discovery. “In cases involving as-yet-unknown defendants, in which the

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 plaintiff cannot serve its complaint—much less confer with the defendant—without obtaining

 identifying information from a third party, ‘the only potential avenue for discovery is a court

 order under Rule 26(d)(1).’” Strike 3 Holdings, LLC v. Doe, 964 F.3d 1203, 1207 (D.C. Cir.

 2020) (internal brackets and citations omitted) (emphasis added).

        The Third Circuit has instructed that where discovery is sought that “would aid in the

 identification of responsible defendants or the lack thereof, district courts should strongly

 consider granting it.” Alston v. Parker, 363 F.3d 229, 233 n.6 (3d Cir. 2004) (emphasis added);

 Athill v. Speziale, No. 06-4941, 2009 WL 1874194, at *14 (D.N.J. June 30, 2009) (“Plaintiffs

 should thus be allowed every opportunity to identify the unknown defendants.”); see also Toys

 “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 456 (3d Cir. 2003) (“[C]ourts are to assist the

 plaintiff by allowing jurisdictional discovery unless the plaintiff’s claim is ‘clearly frivolous.’”).

 And, “[i]n conducting any discovery inquiry, the Third Circuit has suggested that district courts

 risk reversal if their rulings will make it impossible for any party to ‘obtain crucial evidence[.]’”

 Strike 3 Holdings, LLC v. Doe, No. 18-12585, 2020 WL 3567282 at *5 (D.N.J. June 30, 2020)

 (quoting In re Fine Paper Antitrust Litig., 685 F.2d 810, 818 (3d Cir. 1982)).

        “Ordinarily, a party may not seek discovery prior to a Rule 26(f) conference absent a

 court order. [However], [f]or good cause, the court may order discovery of any matter relevant to

 the subject matter involved in the action.” K-Beech, Inc. v. Doe, No. 11-7083, 2012 WL 262722,

 at *2 (E.D. Pa. Jan. 30, 2012). “‘Good cause’ is understood to mean ‘[a] legally sufficient

 reason,’ and it reflects ‘the burden placed on a litigant (usu. by court rule or order) to show why

 a request should be granted or an action excused.’” Joseph v. Hess Oil Virgin Islands Corp., 651

 F.3d 348, 351 (3d Cir. 2011) (citation omitted). In this District, courts typically determine




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 whether good cause exists to allow the issuance of a subpoena at this early stage based on seven

 factors:

            (1) the plaintiff’s ability to make a prima facie showing of a claim, (2) the timing of the
            request in light of the formal start of discovery, (3) the tailoring and specificity of the
            request, (4) the purpose of discovery and the need for information, (5) the burden on the
            defendant, (6) the absence of an alternative means for obtaining the information sought,
            and (7) the defendant’s expectation of privacy.

            Strike 3 Holdings, LLC, 2020 WL 3567282 at *4.

            Although the Plaintiff notes that an almost identical motion to this one was granted in

 three other cases in the Eastern District of Pennsylvania, the Plaintiff will address each of these

 factors in turn since the factors in this District differ slightly. Order, Perrong v. Pub. Op. Rsch.,

 No. 2:20-cv-5317 (E.D. Pa. Nov. 9, 2020), ECF No. 4; Order, Perrong v. Does 1–10, No. 2:20-

 cv-5980 (E.D. Pa. Apr. 12, 2021), ECF No. 12; Order, Perrong v. Caller Identified as Jennifer,

 No. 2:21-cv-02188 (E.D. Pa. June 4, 2021), ECF No. 4.

               b. Good Cause Exists to Grant Plaintiff’s Motion.

            Frist, the Plaintiff has demonstrated a prima facie claim for violations of the Telephone

 Consumer Protection Act. The Plaintiff has alleged that on June 10, 13, 14, and 21, 2022, he

 received at least four calls from the Defendant. Compl. ¶ 20. The Plaintiff has alleged that the

 calls used an ATDS. Id. at ¶33. The call was placed to a telephone number for which the Plaintiff

 is charged. Id. at ¶¶ 23–27, 41. The TCPA makes it unlawful “to make any call (other than a call

 made for emergency purposes or made with the prior express consent of the called party) using

 an automatic telephone dialing system or an artificial or prerecorded voice . . . to any telephone

 number assigned to a . . . cellular telephone service . . . or any service for which the called party

 is charged for the call.” See 47 U.S.C. § 227(b)(1)(A)(iii). Accordingly, the Plaintiff has stated a

 prima facie claim for TCPA violations.



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         The TCPA also makes it unlawful to violate any of the implementing provisions and

 regulations of the TCPA, as codified in 47 C.F.R. § 64.1200(c) and (d). 47 U.S.C. § 227(c)(5).

 The Plaintiff has alleged that on June 10, 13, 14, and 21, 2022, he received at least four calls

 from the Defendant. Compl. ¶ 20. The Plaintiff has alleged that the calls were placed to his

 number despite it being on the National Do Not Call Registry. Id. at ¶18. The TCPA makes it

 unlawful to initiate a telephone solicitation to a “residential telephone subscriber who has

 registered his or her telephone number on the national do-not-call registry.” 47 C.F.R. §

 64.1200(c)(2). Accordingly, the Plaintiff has stated a prima facie claim for TCPA violations

 under this section of the statute as well.

         Second, the timing of this request is appropriate. The Third Circuit has instructed that,

 “[i]f discovery is sought by a plaintiff, as it was here, and if it would aid in the identification of

 responsible defendants or the lack thereof, district courts should strongly consider granting it.”

 Alston, 363 F.3d at 233 n.6. Accordingly, because the request is necessary to identify the

 defendants in this case, the timing of such a request to identify them at the outset of the litigation

 supports a finding that this request’s timing is appropriate.

         Third, the Plaintiff seeks discovery for specific concrete information pertaining to the

 telephone number 856-209-6591. As indicated above, the Plaintiff only seeks information to

 identify the subscriber of the telephone number at issue in this case, to include the name of the

 subscriber, address, contact telephone number, website, and e-mail address. In cases alleging

 copyright infringement, court have determined that similar subscriber identity information

 pertaining to an IP (Internet Protocol) address was “highly specific.” Malibu Media, LLC v. Doe,

 No. 18-766, 2018 WL 2386068, at *3 (D. Conn. May 25, 2018).




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          Fourth, the purpose of the discovery is to seek information to identify the Defendant, and

 such discovery is of central importance to this litigation. The Third Circuit has advised that

 courts should grant limited discovery in cases, such as these, where the plaintiff may otherwise

 not have access to a means for identifying unknown defendants. Alston, 363 F.3d at 233 n.6.

 Accordingly, the purpose of the discovery is appropriate and is needed in order to advance the

 claim.

          There is a central need for the subpoenaed information. As previously described, the

 Plaintiff cannot properly serve “Connor” or the entity on whose behalf they were calling – or

 even confirm if this is the true name of the Defendant – without first ascertaining its identity

 from its telephone carrier. The identity of a defendant is critical to the ability of the plaintiff to

 serve process on defendant and proceed with the litigation. Sony Music Entm’t Inc. v. Does 1-40,

 326 F. Supp. 2d 556, 566 (S.D.N.Y. 2004). And, once the Plaintiff has obtained this information,

 he can further investigate his claims and confirm that he has a good-faith basis to proceed. Strike

 3 Holdings, LLC v. Doe, No. 19-02552, 2019 WL 4855039, at *2 (S.D.N.Y. Oct. 2, 2019).

 Indeed, a sister court, in granting leave to conduct expedited discovery in a TCPA case under

 similar circumstances as here, held that “plaintiffs will be helpless to timely serve Global with

 the summons and complaint or to otherwise prosecute their case without that information.” See

 Catlin v. Glob., No. 14-CV-6324L, 2014 WL 3955220, at *2 (W.D.N.Y. Aug. 13, 2014).

          Fifth, there is little to no burden on the Defendant that would result from a subpoena

 served on its telephone carrier, which is a third-party. Strike 3 Holdings, LLC, 2020 WL 3567282

 at *8. And this Court has previously denied a motion to quash on burden grounds a subpoena

 seeking subscriber information from an internet service provider was “burdensome.” E.g.,




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 Malibu Media, LLC v. Doe, No. 12-07789, 2014 WL 229295, at *1 (D.N.J. Jan. 21, 2014).

 Accordingly, there is no burden imposed upon the Defendant arising out of this subpoena.

        Sixth, there exist no alternative means whereby the Plaintiff can obtain the subpoenaed

 information. Calling the telephone number leads to a dead end because it simply gets transferred

 to voicemail, which goes unresponded to. The name provided by the Defendant is generic and

 was designed to conceal its identity. Finally, searching information about the telephone number

 itself turns up empty. A simple Google search of the number indicates that the caller is one of the

 “top robocallers” identified by Noborobo, an FTC-award-winning company dedicated to

 stopping robocalls – information that bolsters the Plaintiff’s claims, but which is otherwise of

 little use. See Catlin, 2014 WL 3955220, at n1 (W.D.N.Y. Aug. 13, 2014) (TCPA defendant who

 stated that their company name was “Global”); see also 856-209-6591, NOMOROBO (July 11,

 2022), https://www.nomorobo.com/lookup/856-209-6559.

        Finally, the Defendant in this case has a minimal expectation of privacy in its own name

 and address. The Defendant called the Plaintiff and attempted to engage the Plaintiff to attempt

 to sell or rent him a property. Compl. ¶¶ 29-31. It identified itself only as “Connor.” Id. ¶ 32.

 Unlike in copyright infringement cases where an IP address is at issue, there is no federal statute

 protecting the release of a telephone subscriber’s information, unlike IP addresses. Moreover,

 like in copyright infringement cases, the Defendant has no reasonable expectation of privacy

 when they took steps themselves to contact the Plaintiff, essentially holding its telephone number

 out to the world. See in re Verizon Internet Servs., Inc., 257 F. Supp. 2d 244, 267 (D.D.C. 2003).

 A company who violates this nation’s telemarketing laws has little privacy interest in its own

 name and address. Catlin, 2014 WL 3955220, at *2.




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               c. Granting this Motion Conforms to Existing Precedent

            Plaintiff notes that courts frequently grant similar motions the TCPA context when

 critical information pertaining to the calls at issue in the case and the identity of the caller are

 only available from a telephone company. See, e.g., Richardson v. Virtuoso Sourcing Grp.,

 L.L.C., No. 8:15-CV-2198-T-17JSS, 2015 WL 12862517, at *1 (M.D. Fla. Oct. 27, 2015)

 (expedited discovery in TCPA case in the context of motion for default judgment); Catlin, 2014

 WL 3955220, at *2 (expedited discovery to serve defendant in a TCPA lawsuit).

            Indeed, three other judges in the Eastern District of Pennsylvania granted nearly identical

 motions with respect to Plaintiff. Order, Perrong v. Pub. Op. Rsch., No. 2:20-cv-5317 (E.D. Pa.

 Nov. 9, 2020), ECF No. 4 (Pratter, J.); Order, Perrong v. Does 1–10, No. 2:20-cv-5980 (E.D. Pa.

 Apr. 12, 2021), ECF No. 12 (Rufe, J.) Order, Perrong v. Caller Identified as Jennifer, No. 2:21-

 cv-02188 (E.D. Pa. June 4, 2021), ECF No. 4. (Younge, J.).

            Given that the interests here are similar to those in existing cases and given that the risks

 involved in obtaining such information are nowhere near as potentially harmful or embarrassing

 as those of copyright infringement of sexual content, the court should GRANT Plaintiff’s

 Motion.

     III.      CONCLUSION

            For the foregoing reasons, the Court should GRANT the Plaintiff leave to serve a Rule 45

 subpoena on RingCentral Inc. and any subsequent downstream telephone providers as

 RingCentral may identify, prior to a Rule 26(f) conference, seeking the subscriber identity, to

 include the name of the subscriber, address, contact telephone number, website, and e-mail

 address for the telephone number 856-209-6591.




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 Dated: July 11, 2022



                                       _____________________/s/________________
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